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                        UNITED STATES BANKRUPTCY COURT

                            DISTRICT OF SOUTH CAROLINA

IN RE:                          )
                                )     B/K Case No.: 18-01358-JW
FREDERICK S. ALDERSON           )
                                )     Chapter 11
                Debtor.         )
_____________________________________________________________________

                    ORDER APPROVING SETTLEMENT
_____________________________________________________________________

       THIS MATTER comes before the Court upon the Notice of Settlement reached
between Frederick S. Alderson (the “Debtor”) and Colette Winters f/k/a Colette Alderson
(the “Creditor”). There were no objections to the Notice of Settlement.

       The Court was advised that prior to the filing of this bankruptcy case the Debtor and
the Creditor were involved in extensive Family Court litigation concerning alimony,
maintenance, support, visitation, property settlement and other issues. Through subsequent
discussions and negotiations the parties have agreed to resolve their issues on the terms
and conditions set forth in the proposed Settlement Agreement, which was attached to the
Notice of Settlement, the terms of which are incorporated herein by reference.

        I find that this matter is properly before this Court and that there were no objections
to this settlement. It is, therefore

      ORDERED, ADJUDGED and DECREED that the Settlement reached between the
Debtor and the Creditor is hereby approved on the terms and conditions set forth herein;

         IT IS SO ORDERED!




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